                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                        :
KATHLEEN EASTMAN, et al.,               :
                                        :
                Plaintiffs,             :
                                        :
                v.                      :     No. 21-2248 (MSG)
                                        :
CITY OF PHILADELPHIA,                   :
                                        :
                Defendant.              :
                                        :
                           CERTIFICATE OF SERVICE

       I certify that the foregoing Motion for Summary Judgment, Memorandum of Law in

Support of the Motion for Summary Judgment, Proposed Order, Statement of Undisputed Facts,

and exhibits in support for the City of Philadelphia were served upon all counsel in this matter via

electronic mail through the Court’s ECF system on the date and year written below.

                                              Respectfully submitted:


Date: 1/19/2023                               /s/Michelle L. Reinhart
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